                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOI2 THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

SFX ~NTERTAINMEN'I',INC., et al.,l                       Case No. 16-10238(MFW)

                                                         (Jointly Administered)
                        Reorganized Debtors.
                                                         Hearing Date: December I9, 2018 at 11:30 a.m.(ET)
                                                         Objection Deadline: November 14,2018 at 4:00 p.m.(E'I')

  THE SFX LITIGATION TRUSTEE'S FIRST OMNIBUS OBJECTION TO CLAIMS —
            SUBSTANTIVE(NO LIABILITY INDEMNITY CLAII~IS)

         Dean A. Ziehl, Litigation Trustee for the SFX Litigation Trust (the "Litigation Trustee"),

as successor in interest to the estates (the "Estates"} of the above captioned reorganized debtors

(the "Debtors"), hereby objects to the proofs of claim listed on Exhibit A hereto on the grounds

that the claims seek indemnity and reimbursement from the Debtors by former officers, directors,

members, managers or employees of the Debtors and its affiliates, which claims are barred

against the Debtors pursuant to Section 5.06(a) of the Plan (as defined below). The Trustee seeks

an order disallowing and/or expunging each claim in its entirety.

         In support of this Objection, the Litigation Trustee respectfully represents as follows:


   The Reorganized Debtors in these Chapter 11 Cases, along with the last four digits of each Reorganized
   Debtor's federal tax identification number, if applicable, are: 4308 Acquisition LLC (7350); Beatport, LLC
   (1024); Core Productions LLC (3613); EZ Festivals, LLC (2693); Flavorus, Inc. (7119); ID&T/SFX
   Mysteryland LLC (b459); ID&T/SFX North America LLC (5154); ID&T/SFX Q-Dance LLC (6298);
   ID&T/SFX Sensation LLC (6460); ID&T/SFX TomorrowWorld LLC (7238); LETMA Acyuisition LLC
   (0452); Made Event, LLC (1127); Michigan JJ Holdings LLC (ti/a); SFX Acquisition, LLC (1063); SFX Brazil
   LLC (0017); SFX Canada Inc. (7070); SFX Development LLC (2102); SFX EDM Holdings Corporation
   (2460); SFX Entertainment, Inc. (0047); SFX Entertainment International, Inc. (2987}; SFX Entertainment
   International lI, Inc. (1998); SFX Intermediate I3oldco II LLC (5954); SFX Managing Member Inc. (2428);
   SFX Marketing LLC (7734); SFX Platform &Sponsorship LLC (9234); SPX Technology Services; Inc.(0402);
   SFX/AB Live Event Canada, Inc.(6422); SFX/AB Live Event Intermediate Holdco LLC (8004); SFX/AB Live
   Event LLC (9703); SFX-94 LLC (5884); SFX-Disco Intermediate Holdco LLC (5441); SFX-Disco Operating
   LLC (5441); SFXE IP LLC (0047); SFX-EMC,Inc.(7765); SFX-Hudson LLC (0047); SFX-IDT N.A. Holding
   II LLC (4860); SFX-LIC Operating LLC (0950); SFX-IDT N.A. Holding LLC (2428); SFX-Nightlife
   Operating LLC (4673); SFX-Perryscope LLC (4724); SFX-React Operating LLC (0584); Spring Awakening,
   LLC (6390); SFXE Netherlands Holdings Cooperatief U.A.(6812); SFXE Netherlands Holdings B:V.(6898).
   The Reorganized Debtors' business address is 9242 Beverly Boulevard, Suite 350, Beverly Hills, CA 90210.


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                                    JURISDICTION ANll VENUE

         1.          The United States Bankruptcy Court for the District of Delaware (the "Court")

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. §§

1408 and 1409. The statutory predicates for the reIref requested herein are sections 105, 362,

and 502 of Title 11 of the United States Code (the "Bankruptcy Code") and Rules 3007, 9014,

and 9020 ofthe Federal Rules of Bankruptcy Procedure (the "BankruptcX Rules")

                                            BACKGROUND

         2.          On February 1, 2016(the "Petition Date"), the Debtors commenced these cases by

filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

         3.          On November 15, 2016, the Court entered the Fzndings ofFact, Conclusions of

Law, and Order UndeN 11 U.S.C. ~ 1129(a) and (b) eznd Federal Rule ofI3ankr~uptcy Procec~u~e

3020 Confirming the Fifth Amended Joint Plan ofReorganization of'SFX Entertainment, Inc., et

al. Under Chapter 11 of the Ban~u~tcy Code (as Modified) [Docket No. 1293] (the

"Confirmation Order"). The Confirmation Order confirmed the Fifth Amended Joint Plan of

Reorganization ofSFX EnteNtainrraent, Inc. et al. UndeN Chapter 11 ofthe BankNuptcy Code (us

Modified) [Docket No. 1293, Exhibit A] (the "Plan"). The effective date of the Plan vas

December 2,2016 (the "Effective Date").

         4.          Pursuant to the Plan and the Confirmation Order, on the Effective Date the

llebtors and the Litigation Trustee executed the Litigutivn Trust Agreement establishing the SFX

Litigation Trust. Dean A. Ziehl is the duly appointed and acting Litigation Trustee and the sole

trustee of the SFX Litigation Trust.



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       5.         Pursuant to applicable law, the Plan, the Confirmation Order, and the Litigation

Trust Agreement, the Litigation Trustee has standing to object. to proofs of claim.

                                             OBJECTION

       6.         Section 502(b) of the Bankruptcy Code requires the Court to disallow a claim if it

is unenforceable against the debtor and property of the debtor under any agreement or applicable

law.

       7.         Section 1.95 of the Plan sets forth the definition of an "Indemnification

Obligation" as follows:

                  "`Indemnification Obligation' means any obligation of the Debtors
                  pursuant to (and required by) the Debtors' certificates of
                  foz7nation, certificate of incorporation, bylaws, indemnification
                  agreements, or other organizational documents or applicable law in
                  existence at any time prior to the Effective Date to indemnify,
                  defend, reimburse, exculpate, advance fees and expenses to, or
                  limit the liability of, any Indemnified Person against any claims,
                  causes of action, judgments, liability, loss, penalties, fines,
                  settlements, and expenses arising or relating to conduct or actions
                  prior to the Effective Date."

       8.         Section 1.96 ofthe Plan defines "Indemnified Person" as follows:

                  "`Indemnified Person' means all members, managers, officers,
                  directors, employees, attorneys, other professionals, and agents of
                  the Debtors and their Affiliates who were in place on or prior to
                  the Effective Date (in each case in his, her or its capacity as such)."

       9.         Section 5.06(a) ofthe Plan precludes Indemnification Persons allegedly

possessing Indemnification Obligations from asserting such obligations against the Debtors and

Reorganized Debtor and from receiving an5~ recovery zznder the Plan through a proof of claim or

otherwise:

                  "Upon the Effective Date, the right of an Indemnified Person to
                  receive any reimbursements, advancements, payments or other
                  amou~its arising out of, relating to or in connection with any

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                     Indemnification Obligation shall be limited to, and an Indemnified
                     Person's sole and exclusive remedy to receive any of the
                     foregoing, shall be exclusively from the Debtors' director and
                     officer insurance policies, and no Indemnified Person shall seek, or
                     be entitled to receive, any of the foregoing from (directly or
                     indirectly) the Debtor's and/or Reorganized Debtors, including but
                     not limited through a recovery under the Plan as a Class 5 Claim,
                     Class 6 Claim or as any other classified or unclassified claim
                     hereunder (and, far the avoidance of doubt, any such claim of an
                     Indemnified Person in connection with and Indemnification
                     Obligation shall not be included for purposes of the calculation
                     based on Allowed Class 5 Claims (201.9 Debtors) set forth in the
                     definition of Litigation Trust Primary Recovery Units). Nothing in
                     the Plan shall be deemed an assumption by the Reorganized
                     Debtors of any contract, agreement, resolution, instrument or
                     document in which such Indemnification Obligations are
                     contained, memorialized, agreed to, embodied or created (or any of
                     the terms or provisions thereofj."

         In that each of the claims set forth on E~:hibit A are filed by Indemnified Persons

asserting Indemnification Obligations, each should be disallowed in its entirety.

                                      RESERVATION OF RIGHTS

         10.         The Litigation Trustee expressly reserves his right to amend, modify, or

supplement this objection and to file additional objections to the Claims subject hereto. Should

one or more of the grounds of objection stated herein be overruled, the Litigation Trustee

reserves the right to object to such claims on any other ground that bankruptcy or non-

bankruptcy law permits.

         1L          In compliance with Bankruptcy Rule 3007(b), the Litigation Trustee does not seek

affirmative relief in this Objection, and his right to do so under the terms of the Plan against any

of the Claimants subject to this Objection is not thereby affected or prejudiced.




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                                           CONCLUSION

         12.       For the foregoing reasons, the Litigation Trustee respectfully requests that this

Court enter an order•, substantially in the form as Exhibit B, disallowing the Indemnity Claims

listed on Exhibit A hereto.

Dated:    October 30, 2018                 PACHULSKI STANG ZIEHL &JONES LLP


                                           /s/ Colin R. Robinson
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